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                 Exhibit 1
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                                        DEFENDANTS' MOTIONS TO DISMISS

                                                           DOCKET
   NAME OF MOTION                                                   DEFENDANT LEGAL ARGUMENTS
                                                           NO.
                                                                                     FTAIA; Lack of antitrust
   Defendants' Joint Notice of Motion and Motion to                                  standing under Associated
   Dismiss Indirect Purchaser Plaintiffs' Consolidated       485    All Defendants   General Contractors ; statute of
   Amended Complaint                                                                 limitations; various arguments
                                                                                     specific to certain state laws
   LG Electronics, Inc., LG Electronics USA, Inc., and                               Withdrawal and statute of
   LG Electronics Taiwan Taipei Co., Ltd.'s Notice of                                limitations; failure to plead
   Motion and Motion to Dismiss Direct Purchaser                                     fraudulent concealment; alter
   Plaintiffs' Consolidated Amended Complaint and            467    LG               ego or agency liability; failure to
   Indirect Purchaser Plaintiffs' Consolidated Amended                               adequately plead facts showing
   Complaint or, in the Alternative, for a More Definite                             that each LG entity participated
   Statement                                                                         in the conspiracy
                                                                                     Failure to state a claim as to
   Notice of Motion and Motion to Dismiss Direct and
                                                                                     Panasonic Corp. and Panasonic
   Indirect Purchasers' Consolidated Amended
                                                             474    Panasonic        Corp of North America under
   Complaints as to Panasonic Corp. and Panasonic
                                                                                     Bell Atlantic v. Twombly, 550
   Corp. of North America
                                                                                     U.S. 544 (2007).
   Koninklijke Philips Electronics N.V., Philips                                     Withdrawal and statute of
   Electronics North America Corporation, Philips                                    limitations; failure to plead
   Electronics (Taiwan) Co., Ltd. and Philips Da                                     fraudulent concealment; alter
   Amazonia Industria Electronica Ltda.'s Motion to          476    Philips          ego or agency liability; lack of
   Dismiss the Direct Purchaser Plaintiffs' and the                                  personal jurisdiction; failure to
   Indirect Purchaser Plaintiffs' Consolidated Amended                               state a claim as to each Philips
   Complaints                                                                        entity under Twombly .
                                                                                     Vicarious liability; failure to
                                                                                     plead plausible grounds for
   Samsung Electronics Ltd. and Samsung Electronics                                  relief because Samsung
   America, Ltd.'s Notice of Motion and Motion to                                    Electronics only made TVs and
   Dismiss Direct Purchaser Plaintiffs' Consolidated                Samsung          monitors, not CRTs; failure to
                                                             482
   Amended Complaint and Indirect Purchaser                         Electronics      plead rule of reason claim;
   Plaintiffs' Consolidated Amended Complaint and                                    failure to adequately plead
   Memorandum of Law in Support                                                      Samsung Electronics'
                                                                                     participation in the conspiracy
                                                                                     under Twombly .
   Hitachi Defendants' Notice of Motion and Motion to                                Failure to state a claim as to
   Dismiss the Direct Purchaser Plaintiffs'                                          each Hitachi entity under
   Consolidated Amended Complaint and the Indirect           466    Hitachi          Twombly; withdrawal and
   Purchaser Plaintiffs' Consolidated Amended                                        statute of limitations; failure to
   Complaint                                                                         plead fraudulent concealment.
                                                                                     Failure to state a claim as to
   The Toshiba Entities' Motion to Dismiss (1) the                                   each Toshiba entity under
   Direct Purchaser Plaintiffs' Consolidated Amended                                 Twombly; withdrawal and
                                                             491    Toshiba
   Complaint; and (2) the Indirect Purchaser Plaintiffs'                             statute of limitations; failure to
   Consolidated Amended Complaint                                                    plead fraudulent concealment;
                                                                                     alter ego liability.
   Defendant Tatung Company of America's Notice of
                                                                                     Failure to state a claim as to
   Motion and Motion to Dismiss Direct and Indirect          464    Tatung
                                                                                     Tatung under Twombly .
   Purchasers' Consolidated Amended Complaints




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                                                         DOCKET
   NAME OF MOTION                                                 DEFENDANT LEGAL ARGUMENTS
                                                         NO.
   Samtel Color Ltd.'s Notice of Motion and Motion to
                                                                                   Lack of personal jurisdiction;
   Dismiss Direct Purchaser Plaintiffs' Consolidated
                                                           492    Samtel           failure to state a claim as to
   Amended Complaint and Indirect Purchaser
                                                                                   Samtel under Twombly .
   Plaintiffs' Consolidated Amended Complaint
                                                                                   Various issues specific to
                                                                                   certain state laws; whether a
                                                                                   named plaintiff is required for
                                                                                   each state at the pleadings
   Defendants' Joint Notice of Motion and Motion to
                                                                                   stage; relation back for
   Dismiss Indirect Purchaser Plaintiffs' Second           733    All Defendants
                                                                                   purposes of statute of
   Consolidated Amended Complaint
                                                                                   limitations; whether IPPs could
                                                                                   state stand-alone unjust
                                                                                   enrichment claims under state
                                                                                   common laws.
   Philips Taiwan Ltd.'s and Philips do Brasil Ltda.'s
                                                                  Philips Taiwan   Lack of personal jurisdiction;
   Notice of Motion and Motion to Dismiss Indirect
                                                           2470   and Philips      insufficient service of process;
   Purchasers' Fourth Consolidated Amended
                                                                  Brazil           and failure to prosecute.
   Complaint




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(CRT) Antitrust Litigation                                 2                   Case No. 3:07-cv-5944, MDL No. 1917
